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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


    ZACHARIAH MILLS,
           Plaintiff
          v.                                          Civil Action No. 22-1001(CKK)
    AMERICAN UNIVERSITY, et al.,
               Defendants


                                    RULE 4(m) ORDER
                                      (July 25, 2022)
       Plaintiff Zachariah Mills, who proceeds pro se, filed the Original Complaint in this
action on March 31, 2022 against Defendants American University and David Reitman.
See Compl., ECF No. [1]. On April 12, 2022, upon determining that Plaintiff’s Original
Complaint failed to comply with the pleading requirements of Federal Rule of Civil
Procedure 8, the Court ordered Plaintiff to file an Amnded Complaint by no later than May
12, 2022. See Order Granting Leave to Amend Defective Complaint, ECF No. [4].

        On May 23, 2022, Plaintiff filed an [6] Amended Complaint against Defendants
American University and a number of individual defendants associated with American
University. 1 See Am. Compl. ¶¶ 930–46. Although Plaintiff did not comply with the
Court’s deadline to file a Amended Complaint, the Court shall nonetheless accept
Plaintiff’s Amended Complaint as the operative complaint in this action. However, the
Court notes that pro se plaintiffs are not excused from complying with Court orders, the
Federal Rules of Civil Procedure, or this jurisdiction’s local rules.
       As of the date of this Order, the public docket reflects that Plaintiff has yet to file
proof of service of Defendants. In this regard, the Court directs Plaintiff’s attention to
Federal Rule of Civil Procedure 4(m), which provides in pertinent part:
         If a defendant is not served within 90 days after the complaint is filed, the
         court—on motion or on its own after notice to the plaintiff—must dismiss
         the action without prejudice against that defendant or order that service be
         made within a specified time. But if the plaintiff shows good cause for the
         failure, the court must extend the time for service for an appropriate period.

Fed. R. Civ. P. 4(m). “Unless service is waived, proof of service must be made to the
court.” Fed. R. Civ. P. 4(l)(1). In order to avoid the finality of a mandatory dismissal of
this action against Defendant, it is, this 25th day of July, 2022, hereby ORDERED that, by

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    Plaintiff’s Amended Complaint no longer names David Reitman as a defendant.
                                               1
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no later than AUGUST 23, 2022, Plaintiffs must either cause process to be served upon
Defendants and proof of service to be filed with the Court or establish good cause for the
failure to do so. Failure to make such filings will result in dismissal of this case.

        It is further ORDERED that, in light of this Order directing Plaintiff to effectuate
service of process by no laer than August 23, 2022, Plaintiff’s [9] Motion for Extension of
Time to Serve Summons is DENIED without prejudice.
          The Clerk of Court is directed to mail a copy of this Order to Plaintiff’s address of
record.
          SO ORDERED.
                                                             /s/
                                                        COLLEEN KOLLAR-KOTELLY
                                                        United States District Judge




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